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                                 UNITED STATES DISTRICT COURT

                              NORTHERN DISTRICT OF CALIFORNIA


     IN RE: ROUNDUP PRODUCTS
     LIABILITY LITIGATION
                                                        MDL No. 2741
                                                        Case No. 16-md-02741-VC

     This document relates to:
                                                        PRETRIAL ORDER 53:
     ALL ACTIONS                                        REVISED TRIAL SCHEDULE –
                                                        GROUP 1 PLAINTIFFS
                                                        Re: Dkt. No. 1905



          Upon review of the proposed trial schedule filed by the parties, the following deadlines

apply to the four plaintiffs currently in “Group 1”:


    Event (modified events in red)                Date (modified dates in red)
    Completed and executed authorizations         10/4/18
    due for the first four plaintiffs
    First four PFSs due                           10/22/18
    Deficiency letter(s) sent                     4 business days from receipt of PFS
    Deadline to cure PFS deficiencies. The        7 business days from receipt of deficiency letter
    parties may file letter brief regarding any
    disputes about whether a deficiency
    exists
    CMC                                           10/29/20181
    Close of fact discovery of plaintiffs         11/20/18
    (does not apply to discovery of
    Monsanto)
    Plaintiffs’ expert reports due                11/20/2018

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  Items to discuss include but are not limited to: identifying Group 2 plaintiffs who can go to trial
in May; defense fact sheet; discovery on Monsanto; and the jury selection process.
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 Monsanto’s expert reports due                11/27/2018
 Plaintiffs’ rebuttal reports due             12/4/2018
 Close of expert discovery                    12/20/2018
 Monsanto’s Daubert and summary               1/3/2019
 judgment due
 Plaintiffs’ oppositions and cross-motions    1/11/2019
 due
 Meet and confer regarding pretrial           1/16/19
 conference, serve motions in limine
 Monsanto’s oppositions/replies re            1/18/2019
 Daubert/SJ due
 Plaintiffs’ Daubert/SJ replies due           1/22/2019
 Serve oppositions to motions in limine       1/23/19
 File joint pretrial conference statement,    1/30/19
 file motions in limine with oppositions
 to motions in limine
 Daubert evidentiary hearing (expert          2/4/19, 2/6/19, 2/11/19
 testimony)
 File proposed jury instructions, voir dire   2/6/19
 questions, verdict forms, statement of the
 case, exhibit list
 Final Pre-Trial Conference/Daubert           2/13/19
 Argument/SJ Argument
 Arrangement of daily transcript or real-     1/22/2019 for Daubert/SJ Hearings, 2/11/2019 for
 time reporting                               Trial
 Filing of proposed order for bringing        1/25/2019 for Daubert/SJ Hearings, 2/11/2019 for
 exhibit presentation equipment and           Trial
 technology into the building
 Individuals involved list                    1/22/2019 for Daubert/SJ Hearings, 2/13/2019 for
                                              Trial
 Contact Kristen Melen regarding              1/23/2019 for Daubert/SJ Hearings and Trial
 courtroom layout and technology
 Deliver original trial exhibit set and       2/19/19
 thumb drive of exhibits
 Jury Selection                               2/20/19
 Trial                                        2/25/19


       IT IS SO ORDERED.

Dated: October 3, 2018
                                              ______________________________________
                                              VINCE CHHABRIA
                                              United States District Judge




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